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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

LAVARA BLANCHARD,                                     )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )        No. 1:21-cv-01525-JPH-DLP
                                                      )
JAIME OSS, et al.                                     )
                                                      )
                              Defendants.             )

                  Order Transferring Action to Northern District of Indiana

       Plaintiff Lavara Blanchard, an inmate at the La Porte County Jail, in La Porte, Indiana,

brought this civil rights lawsuit based on alleged mistreatment at the Jail. To the extent discernible

from the complaint, none of the defendants are located, and none of the actions occurred, in the

Southern District of Indiana.

       The venue statute, 28 U.S.C. § 1391(b) provides the following:

       A civil action may be brought in—

       (1) a judicial district in which any defendant resides, if all defendants are residents
       of the State in which the district is located;

       (2) a judicial district in which a substantial part of the events or omissions giving
       rise to the claim occurred, or a substantial part of property that is the subject of
       the action is situated; or

       (3) if there is no district in which an action may otherwise be brought as provided
       in this section, any judicial district in which any defendant is subject to the court’s
       personal jurisdiction with respect to such action.

       La Porte County lies in the South Bend Division of the Northern District of Indiana. See

28 U.S.C. § 94(a)(2). Pursuant to the venue statute, § 1391(b)(2), this action could have been

brought in the Northern District of Indiana, and it does not appear that venue is proper in this

district. 28 U.S.C. § 1404, provides: "For the convenience of parties and witnesses, in the interest
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of justice, a district court may transfer any civil action to any other district or division where it

might have been brought." Pursuant to 28 U.S.C. § 1404, without having ruled on the motion to

proceed in forma pauperis, the above action is now TRANSFERRED to the South Bend Division

of the United States District Court for the Northern District of Indiana.

SO ORDERED.
Date: 6/8/2021




Distribution:

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20140330
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809 State
Suite 201A
La Porte, IN 46350
